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UNITED sTATEs I)ISTRICT CoURT m c
WESTERN DISTRICT 0F TENNESSEE 1 110 §§ r_ 19
Eastern Division

UNITED STATES OF AMERICA

 

~vs- Case N0.1:050r10042 0

LARRY JONES

 

ORDER OF TEMPORARY DETENTI()N
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
FRIDAY, JULY 15, 2005 at 10:00 A.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federal Building, l l l
South Highland, Jackson, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

'lt`not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion oi`thc government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1‘) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer' s own motion, if there 1s a serious risk that the
defendant (a) will flee or (b) Will obstruct or attempt to obstruct Justlce, or threaten injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective Wit‘ness Orjuror.

AO 470 (8!85) Order of Temporary Detention

Thls document entered on the docket sheet ln compliance
with Huie 55 and!or 32 (b) FRCrP on 5

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CR-10042 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son7 TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

